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                               HEARING MINUTES

 Cause No:       4:24-CV-2016
 Style:          Valifornia Inc. v. U.S. Bank National Association as Trustee
 Hearing Type: Pre-motion conference

Appearances:
 Counsel                                    Representing


 Robert Clayton Vilt                        Plaintiff

 Kathryn Buza Davis                         Defendant




 Date: June 27, 2024                        Court reporter: ERO
 Time: 2:38 p.m.—2:46 p.m.                  Law Clerk: L. McKinney



At the hearing, the following rulings were made as stated on the record:

      The Court held a pre-motion conference regarding docket entry 7. Defendant
      may file a motion to dismiss on or before July 19, 2024. Plaintiff may file a
      response to Defendant’s motion within 21 days of the date on which Defendant
      files its motion. Defendant may file a reply brief within seven days of the date
      on which Plaintiff files its response.
